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 2
     ATKINSON LAW ASSOCIATES LTD.
 3   376 E Warm Springs Rd, Suite 130
     Las Vegas, NV 89119
 4   Telephone: (702) 614-0600
     Attorney for Robert E. Atkinson, Trustee
 5

 6                        UNITED STATES BANKRUPTCY COURT
 7                           FOR THE DISTRICT OF NEVADA

 8                                                     Case No. 21-14486-abl
     In re:                                            Chapter 7
 9

10   INFINITY CAPITAL MANAGEMENT, INC.
     dba INFINITY HEALTH CONNECTIONS,                  NOTICE OF ENTRY OF ORDER
11
                         Debtor.
12

13

14            PLEASE TAKE NOTICE that an order, which is attached hereto, was entered in the
15   above-captioned matter.
16

17
     DATED: August 30, 2022                    ATKINSON LAW ASSOCIATES LTD.
18
                                               By:         /s/ Clarisse Crisostomo
19
                                                     CLARISSE L. CRISOSTOMO, ESQ.
20
                                                     Nevada Bar No. 15526
                                                     Attorney for Robert E. Atkinson, Trustee
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                                                                     09:17:46      Page 2
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                                                                                             1




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 2

 3

 4       Entered on Docket
     ___________________________________________________________________
         August 30, 2022
 5

 6

 7
       ROBERT E. ATKINSON
 8
       CHAPTER 7 BANKRUPTCY TRUSTEE
 9     376 E. Warm Springs Rd Suite 130
       Las Vegas, NV 89119
10     Telephone: (702) 617-3200
       Email: Robert@ch7.vegas
11

12                                 UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEVADA
13
       In re:                                              Case No. 21-14486-abl
14
                                                           Chapter 7
15     INFINITY CAPITAL MANAGEMENT, INC.
       dba INFINITY HEALTH CONNECTIONS,                    ORDER ON EX PARTE APPLICATION
16                                                         FOR COMPENSATION FOR
17
                                Debtor.                    ACCOUNTANT

18
                The Court reviewed and considered the Trustee’s Ex Parte Application for Compensation of
19
      Accountant [DE #247] (the “Application”). Good cause appearing,
20
      IT IS HEREBY ORDERED:
21
                   1. The Application is granted.
22
                   2. The $800.00 fee compensation to accountant Paul M. Healey & Sons CPAs Ltd. is
23
                       approved.
24
      IT IS SO ORDERED.
25
                                                    # # # # #
26
      Respectfully submitted by:
27
         /s/ Robert E. Atkinson
28    ROBERT E. ATKINSON
      CHAPTER 7 BANKRUPTCY TRUSTEE
